
Upon consideration of the petition filed by Defendant on the 13th of November 2017 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2018."
The following order has been entered on the motion filed on the 13th of November 2017 by Defendant to Procure Original Records:
"Motion Dismissed by order of the Court in conference, this the 9th of May 2018."
The following order has been entered on the motion filed on the 13th of November 2017 by Defendant to File and Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 9th of May 2018."
